The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
You have submitted to us a summary statement prepared pursuant to Section 116.334, RSMo Supp. The summary statement which you have submitted is as follows:
    Shall the Missouri Constitution be amended to: prohibit local tax on electricity and natural gas gross receipts, local sales and use taxes on electricity and natural gas, specified property taxes, and local electricity and natural gas franchise fees; require the general assembly to impose replacement taxes, with rates limited to produce revenues equivalent to year 2000 revenues which cannot be increased without voter approval, based upon kilowatt hours of electricity or therms of natural gas delivered or used; and become effective no earlier than January 1, 2002 once a law is enacted allowing retail customers to choose their electricity supplier?
See our Opinion Letter No. 220-2000 (attached), approving the form of the related petition.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                    JEREMIAH W. (JAY) NIXON Attorney General